DATE Case 4:10-cr-00159-ALM-CAN
            04/18/12            Document 26 Filed 04/18/12
                                   CASE NUMBER      4:10cr159Page 1 of 1 PageID #: 82
LOCATION        Plano                    USA           Heather Rattan                Assigned
JUDGE        RICHARD SCHELL              VS            Heather Rattan               Appeared
DEPUTY CLERK B Sanford
RPTR/ECRO       Jerry Kelley
                                                 ALEC HAMID
TAPE #                      B E
                                                              Defendant
USPO Elizabeth McAlpin
INTERPRETER:                                             Phillip Linder
BEGIN 4:48 pm / 5:27 pm                                         Attorney


                                                              SENTENCING
X......           Sentencing held

   CT      CUSTODY               FINE             REST               PROB       SUP/REL       CC/CS       W/CT   SP/ASSESS

  1        46 months                                                         3 years                             $100.00




Objection 1, 3, 6 - A resolution of these objections is not necessary.
Objection 7 - No ruling is necessary.
Objection 8- overruled.


The court adopts the facts as set forth in the presentence report.


Defendant’s motion for 5K2.20 denied.
Defendant’s motion for 5K2.12 denied.


Defendant to receive credit for 105 days for time served on the now dismissed Denton case.


-The court recommends drug and alcohol treatment while incarcerated.
-The court recommends FCI Texarkana.
-Defendant to voluntary surrender on 6/15/12 at 2:00 p.m.




X......           Dft advised of right to appeal plea and/or sentence, and apply for court appointed counsel.




CRIM 92-118                                               G See reverse/attached for additional proceedings
                          Adjourn
